                        IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF KANSAS

IN RE:                                   )
                                         )
PHILLIP EUGENE HARDEN,                   )       Case No. 17-10732
                                         )       Chapter 7
                         Debtors(s)      )
                                         )

                          TRUSTEE’S OBJECTION TO MOTION OF
                       LIFTFORWARD, INC. FOR RELIEF FROM STAY

          J. Michael Morris, trustee and for his objection states:


          1.     The motion fails to state the balance owing on the petition date and the date and

amount of any payments (if any) received since the filing. See D. Kan. LBR 4001(a).1(d)(2).

          2.     The motion also fails to state the number of payments the debtor is in arrears and

the amount of each payment, including the total arrearage, on the petition date. See D.Kan.LBR

4001(a).1(d)(3).

          3.     Notwithstanding, it appears there is likely equity in the property. The motion itself

notes that the property is appraised for tax purposes at $327,000.00. The amount of the original

note to the creditor was $206,000.00. Although other parties are shown as having interest in the

property, it appears most, if not all, are simply lis pendens liens from pending lawsuits.

          4.     Moreover, the property involved appears to be that of Harden Properties LLC and/or

McMillan Seamless Guttering Inc. Both of these entities are owned 100% by the debtor and the

trustee intends to pursue dissolution proceedings as to these entities under the control of this court.


          WHEREFORE, the trustee requests that the motion be denied to the extent set forth above.




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                                       KLENDA AUSTERMAN LLC
                                       301 North Main, Suite 1600
                                       Wichita, Kansas 67202
                                       Telephone: (316) 267-0331
                                       Facsimile: (316) 267-0333
                                       jmmorris@klendalaw.com

                                       By:   s/ J. Michael Morris
                                             J. Michael Morris # 09292
                                             Attorney for Trustee




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2017 I electronically filed the foregoing Trustee’s
Limited Objection with the Clerk of the U.S. Bankruptcy Court by using the CM/ECF system,
which will send a notice of electronic filing to the following:

          Shannon D. Wead
          Foulston Siefkin LLP
          1551 N. Waterfront Parkway, Ste. 100
          Wichita, KS 67206



                                                    By:   /s/ Emily C. Saengerhausen
                                                          Emily C. Saengerhausen




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